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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com

    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admissions pro hac vice pending)

    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan


               ORDER (I) APPOINTING CO-MEDIATORS, (II) ESTABLISHING
             MEDIATION PROCEDURES AND (III) GRANTING RELATED RELIEF

             The relief set forth on the following pages is hereby ORDERED.




1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


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                 Upon the motion (the “Motion”),2 of LTL Management LLC, the debtor in the

above-captioned case (the “Debtor”), pursuant to section 105(a) of the Bankruptcy Code and

Local Bankruptcy Rules 9019-1 and 9019-2, and this Court having jurisdiction over the matter

pursuant to 28 U.S.C. §§ 157(b) and 1334 and the Standing Order of Reference; and venue being

proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion being

good and sufficient notice thereof; and upon consideration of the Motion; and this Court having

found and determined that the relief sought in the Motion is in the best interests of the Debtor’s

estate, its creditors and other parties in interest and that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein;

         IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED.

         2.      The Hon. Joel Schneider (Ret.), whose address is Montgomery McCracken

Walker & Rhoads LLP, LibertyView, 457 Haddonfield Road, Suite 600, Cherry Hill, NJ 08002,

and Gary Russo, whose address is Jones Walker LLP, Suite 1600, 600 Jefferson Street,

Lafayette, LA 70501, are hereby appointed as Co-Mediators in accordance with the terms of this

Order.

         3.      The Co-Mediators are authorized to mediate (the “Mediation”) a comprehensive

resolution of issues in the Chapter 11 Case (the “Mediation Issues”), which includes, without




2
         Capitalized terms used herein but not otherwise defined have the meanings given to them in the Motion.


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limitation, a chapter 11 plan, and all matters related to the estimation and plan treatment of

personal injury claims against the estate related to talc or talc-containing products.

        4.       The following parties (collectively, the “Mediation Parties”) are referred to the

Mediation: (a) the Debtor; (b) Johnson & Johnson Holdco (NA) Inc. and Johnson & Johnson

(together, “J&J”); (c) any official committee of talc claimants appointed in this case (a “TCC”),

by their member representatives, (d) the legal representative for future talc claimants appointed

in this case (the “FCR”); (e) the insurers identified on Exhibit 1 to this Order; (f) the

representative plaintiff in the action styled DiSanto v. Johnson & Johnson, Alberta Court of

Queen’s Bench (File Number 1901-11748) (the “DiSanto Plaintiffs”), the proposed

representative plaintiff in the action styled Baker v. Johnson & Johnson, Ontario Superior Court

of Justice (Court File No. CV-16-533046CP) (the “Baker Plaintiffs”), the proposed

representative plaintiff in the action styled Williamson v. Johnson & Johnson, British Columbia

Supreme Court (Case No. 179011) (the “Williamson Plaintiffs”), and any other Canadian

representative(s), including the Canadian representative of the other putative classes active in

Canada, who request to participate in the Mediation and agree to be bound by the terms of this

Order if the Co-Mediators determine, in their sole discretion, such additional representative(s)

should participate in the Mediation or the Court orders that such representatives should

participate; and (g) any other party who wishes to participate in the Mediation and agrees to be

bound by the terms of this Order if the Co-Mediators determine, in their sole discretion, such

party should participate in the Mediation. Any reference in this Order to a “Mediation Party”



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shall include each Mediation Party identified in this paragraph irrespective of whether such party

participates in any particular Mediation session.

        5.       Subject to the terms of this Order and applicable law, D.N.J. LBR 9019-1 and

9019-2, including, but not limited to, all confidentiality and privilege provisions therein

applicable to mediation, as well as the following terms and guidelines will govern the Mediation

process between the Mediation Parties:

             a. The Debtor must immediately serve the Co-Mediators with a copy of this Order.

             b. The scheduling and location of all Mediation sessions will be determined by the

                 Co-Mediators. Sessions may be held in person, telephonically or by

                 videoconference.

             c. Notwithstanding anything to the contrary in the Local Bankruptcy Rules, the

                 Co-Mediators may conduct the Mediation as they see fit, establish rules of the

                 Mediation, and consider and take appropriate action with respect to any matters

                 the Co-Mediators deem appropriate to conduct the Mediation, subject to the terms

                 of this Order.

             d. The Mediation Parties will make a good faith attempt to settle the Mediation

                 Issues. The Mediation Parties, either personally or through a representative with

                 authority to negotiate and settle the Mediation Issues, will make reasonable efforts

                 to attend all sessions scheduled by the Co-Mediators to which they are invited to

                 attend by the Co-Mediators.



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             e. The Co-Mediators will be compensated at the rate of no more than $850.00/hour.

                 The Co-Mediators are authorized to use associates or paralegals from their offices

                 for necessary and reasonable assistance, at their standard rates. The Debtor is

                 solely responsible for the Co-Mediators’ fees. The fees are due not later than

                 30 days after presentation of the Co-Mediators’ invoices, with copies to the TCC,

                 the FCR, and the United States Trustee for Region 3 (the “U.S. Trustee”).

             f. The Co-Mediators are permitted, at their discretion, to speak ex parte with the

                 Court and/or the individual Mediation Parties and/or their representatives about

                 the Mediation Issues.

             g. The Co-Mediators shall provide a status report, substantially in the form of the

                 Local Form Mediation Report, no later than _____________, 2023, and periodic

                 status reports as they deem appropriate. Reports shall be filed under seal in the

                 event that such reports disclose confidential settlement terms or proposals. An

                 unredacted copy of any such report shall be provided to the U.S. Trustee and the

                 U.S. Trustee shall maintain the confidentiality of such sealed report pursuant to

                 11 U.S.C. § 107(c)(3). An unredacted copy of any such report, together with

                 periodic oral updates, also shall be provided to any information officer

                 (the “Information Officer”) appointed by the Canadian court in the proceedings

                 commenced pursuant to Part IV of the Companies’ Creditors Arrangement Act

                 (Canada) R.S.C. 1985, c. C 36 and with respect to which the Debtor has been



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                 appointed as foreign representative. The Information Officer shall maintain the

                 confidentiality of any information provided to it hereunder consistent with

                 paragraph 5 of this Order.

             h. Not later than 7 days after the conclusion of the Mediation, the date of which will

                 be determined by the Co-Mediators or the Court, the Co-Mediators must file a

                 Local Form Mediation Report.

        6.       Confidentiality:

             a. Except as provided in paragraph 6.c. below, unless the Co-Mediators and the

                 Mediation Parties agree otherwise in writing, or unless disclosure is permitted or

                 required by this Order or applicable law, including, without limitation, any state

                 public disclosure laws, the Co-Mediators, the Mediation Parties, and other

                 participants in the Mediation may not disclose to any entity or person who was

                 not a participant in the Mediation any oral or written communication concerning

                 the Mediation, including any document, report or other writing presented or used

                 solely in connection with the Mediation (hereinafter, the “Protected

                 Information”).

             b. A Mediation Party who receives Protected Information may not disclose such

                 Protected Information to another Mediation Party unless the Co-Mediators and the

                 Mediation Party who disclosed such information agree in writing, or unless




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                 disclosure is permitted or required by this Order or applicable law including,

                 without limitation, any state public disclosure laws.

             c. A Co-Mediator must disclose to a proper authority information obtained at a

                 Mediation session if required by law, or if a Co-Mediator or a Mediation Party

                 has a reasonable belief that the disclosure will prevent a Mediation Party from

                 committing a criminal or illegal act likely to result in death or serious bodily

                 harm.

             d. A Co-Mediator shall not testify in any judicial proceeding as to any Protected

                 Information, statements, matters, occurrences or observations arising out of the

                 Mediation except by express written agreement of all Mediation Parties. This

                 clause is not applicable to any litigation to enforce the terms of any written

                 agreement reached by the Mediation Parties in the course of the Mediation

                 wherein the meaning or content of such agreement is put in issue.

             e. No written record or transcript of any discussion had in the course of Mediation is

                 to be kept, absent express written agreement by the Mediation Parties.

             f. Subject to paragraphs 6.h., 6.i., 6.j., and 7, Protected Information, whether written

                 or verbal, is not subject to discovery or admissible in evidence in any subsequent

                 proceeding. A Mediation Party may by independent evidence establish the

                 substance of Protected Information in the subsequent proceeding.




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             g. The disclosure by a Mediation Party of information to the Co-Mediators that

                 would otherwise be shielded from disclosure in any other proceeding by virtue of

                 the attorney-client, attorney work product, or other applicable privilege does not

                 waive or otherwise adversely affect the privileged nature of that information. The

                 Co-Mediators shall not provide privileged information or disclose the contents

                 thereof to any other person, entity, or Mediation Party without the consent of the

                 producing party (except that the Co-Mediators may disclose privileged

                 information to any person assisting the Co-Mediators in the performance of their

                 mediation duties, in which event such assistant shall be subject to the same

                 restrictions as the Co-Mediators with respect to such privileged information). For

                 the avoidance of doubt, information that is not privileged before it is shared with

                 the Co-Mediators does not become privileged pursuant to this subparagraph 6.g.

                 solely because it was shared with the Co-Mediators.

             h. For the avoidance of doubt, nothing herein prohibits a Mediation Party from

                 disclosing its own position with respect to the treatment of claims or issues in the

                 Chapter 11 Case or disclosing its own work product or underlying documents that

                 were not prepared by another Mediation Party or the Co-Mediators for the

                 purposes of Mediation in any subsequent litigation (including in this Court during

                 the pendency of the Chapter 11 Case) solely because such documents were also

                 used in whole or in part or such issues were discussed during the Mediation.



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             i. Nothing provided in this Order shall prohibit or limit the Debtor’s or any Debtor

                 affiliate’s right or obligation to share information, including Protected

                 Information, with any insurer if required under any applicable insurance contract

                 and such insurer agrees to maintain the confidentiality of such information.

             j. The Co-Mediators shall not be required to destroy documents, electronic files or

                 information as set forth in paragraph 18 of the Order (I) Dismissing Debtor’s

                 Chapter 11 Case Pursuant to § 1112(b); (II) Establishing Procedures With

                 Respect to Requests for Compensation; and (III) Granting Related Relief, In re

                 LTL Mgmt. LLC, No. 21-30589 (Bankr. D.N.J. Apr. 4, 2023), Dkt. 3938

                 (the “Dismissal Order”).

             k. Nothing provided in this Order shall prohibit or limit any insurer’s right or

                 obligation to share information, including Protected Information, with any other

                 insurer, any reinsurer upon request of such reinsurer, or any auditor or regulator

                 upon request of such auditor or regulator if required under any insurance contract,

                 reinsurance contract or applicable regulation and such insurer, reinsurer, auditor

                 or regulator is provided a copy of this Order and agrees to maintain the

                 confidentiality of such information in accordance with this Order. If any such

                 insurer, reinsurer, auditor or regulator does not agree to maintain the

                 confidentiality of such information in accordance with this Order, then prior to

                 disclosing such Protected Information, the applicable insurer shall promptly



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                 provide written notice of its intended disclosure to the Mediation Parties to permit

                 any Mediation Party, at its own expense, to seek a protective order or take other

                 appropriate action (collectively, a “Protective Motion”). If a Protective Motion is

                 filed within fifteen days following the receipt of such notice (the “Notice

                 Period”), the applicable insurer shall not produce the requested information to

                 such reinsurer, auditor or regulator pending a determination of such motion. If no

                 Protective Motion is filed within the Notice Period or the Protective Motion is

                 denied, the applicable insurer may produce the requested information to such

                 reinsurer, auditor or regulator consistent with any order in respect of the

                 Protective Motion, if applicable.

        7.       Notwithstanding entry of this Order, the rights and arguments of all Mediation

Parties and other parties in interest with respect to the discoverability or admissibility of

information and documents exchanged in connection with the Mediation are expressly preserved.

        8.       Nothing contained in this Order shall in any way operate to, or have the effect of,

imposing, impairing, altering, supplementing, changing, expanding, decreasing or modifying any

rights or obligations of any insurer or of Johnson & Johnson or any of its subsidiaries or affiliates

under any insurance contract issued to, naming, or providing or purporting to provide coverage

to Johnson & Johnson or any of its subsidiaries or affiliates.

        9.       Except as provided in paragraphs 5 and 6 of this Order, this Order shall not affect:

(a) any right of any party in interest to seek information from a Mediation Party or (b) any



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obligation of a Mediation Party to disclose information. Nothing in this Order shall affect the

requirements for obtaining approval of a plan of reorganization or a settlement under the

Bankruptcy Code, including under sections 1123 and 1125, or the Federal Rules of Bankruptcy

Procedure, including Rule 9019, or any other applicable law, including, without limitation, any

state public disclosure laws.

        10.      In the event of a conflict between the terms of this Order and those of D.N.J.

LBR 9019-1 and 9019-2, the terms of this Order shall control.

        11.      All rights of the Mediation Parties are preserved and shall not be prejudiced by

participation in the Mediation.

        12.      The entry of this Order and participation in the Mediation shall not be deemed

consent to the jurisdiction of this Court over any Mediation Party for any matter.

        13.      This Order shall be effective immediately upon its entry.

        14.      The requirement set forth in D.N.J. LBR 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

        15.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation and enforcement of this Order.




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                                            Exhibit 1

    •   ACE Property and Casualty Insurance Company (f/k/a CIGNA Property & Casualty
        Insurance Company)
    •   Affiliated FM Insurance Company
    •   AIG Property Casualty Company (f/k/a Birmingham Fire Insurance Company of
        Pennsylvania)
    •   AIG Europe S.A. (as successor in interest to Union Atlantique d’Assurances S.A)
    •   AIU Insurance Company
    •   Allstate Insurance Company (solely as successor in interest to Northbrook Excess &
        Surplus Insurance Company, f/k/a Northbrook Insurance Company)
    •   Allianz Global Risk US Insurance Company (f/k/a Allianz Insurance Company and
        Fireman’s Fund Insurance Company)
    •   Arrowood Indemnity Company
    •   ASR Schadeverzekering N.V. (as successor in interest to Assurantiekoor Van Wijk &
        Co.)
    •   Atlanta International Insurance Company (as successor in interest to Drake Insurance
        Company)
    •   Century Indemnity Company
    •   Employers Insurance Company of Wausau
    •   Employers Mutual Casualty Company, by its managing general agent and attorney-in-
        fact ProSight Specialty Insurance Company
    •   Everest Reinsurance Company
    •   First State Insurance Company
    •   Granite State Insurance Company
    •   Great Northern Insurance Company
    •   Hartford Accident and Indemnity Company
    •   The Insurance Company of the State of Pennsylvania
    •   Lexington Insurance Company
    •   Munich Reinsurance America, Inc. (f/k/a American Re-Insurance Company)
    •   National Casualty Company
    •   National Union Fire Insurance Company of Pittsburgh, Pa.
    •   New Hampshire Insurance Company
    •   The North River Insurance Company
    •   Pacific Employers Insurance Company
    •   N.V. Schadeverzekeringsmaatschappij Maas Lloyd (individually and as successor in
        interest to policies subscribed in favor of Johnson & Johnson by N.V. Rotterdamse
        Assurantiekas, n/k/a De Ark)
    •   Republic Indemnity Company of America
    •   Rheinland Versicherungen (as successor in interest only to the subscriptions of the former
        Dutch company Rheinland Verzekeringen)
    •   Sentry Insurance a Mutual Company (as assumptive reinsurer of Great Southwest Fire
        Insurance Company)
    •   Starr Indemnity & Liability Company (as successor in interest to Republic Insurance
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    •   TIG Insurance Company
    •   Travelers Casualty and Surety Company (f/k/a The Aetna Casualty and Surety Company)
    •   Westchester Fire Insurance Company
    •   Westport Insurance Corporation (f/k/a Puritan Insurance Company)




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